Case No. 1:10-cv-02103-PAB-KLM   Document 294-5   filed 11/08/13   USDC Colorado
                                   pg 1 of 5
Case No. 1:10-cv-02103-PAB-KLM   Document 294-5   filed 11/08/13   USDC Colorado
                                   pg 2 of 5
Case No. 1:10-cv-02103-PAB-KLM   Document 294-5   filed 11/08/13   USDC Colorado
                                   pg 3 of 5
Case No. 1:10-cv-02103-PAB-KLM   Document 294-5   filed 11/08/13   USDC Colorado
                                   pg 4 of 5
Case No. 1:10-cv-02103-PAB-KLM   Document 294-5   filed 11/08/13   USDC Colorado
                                   pg 5 of 5
